     Case 5:13-cr-00010-DCB-FKB          Document 193        Filed 06/15/16       Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                                  CRIMINAL NO.: 5:13CR10 DCB‐FKB

RICARDO QUINTANA


                           ORDER TO ALLOW GOVERNMENT
                            TO FILE MOTION UNDER SEAL

       The United States of America has applied to this Court for an Order To Allow Government

To File Motion Under Seal. Upon consideration of the application and the need to protect and

guard against public disclosure of sensitive information contained in the Motion,

       IT IS HEREBY OREDERED that the Government may file its Motion under seal and shall

not be disclosed to any person unless otherwise ordered by this Court.

        SO ORDERED AND ADJUDGED this                 14th    day of June, 2016.



                                                    s/ David Bramlette
                                                    DAVID C. BRAMLETTE, III
                                                  UNITED STATES DISTRICT JUDGE
